72 F.3d 128NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Charlie Omar SEAY, Plaintiff-Appellant,v.John MULBERRY, Appomottox County Deputy Sheriff;  FredGottsey, Appomottox County Deputy Sheriff,Defendants-Appellees,andKenneth A. Powell, M.D., Defendant.
    No. 95-7231.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Dec. 12, 1995.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-94-919)
      Charlie Omar Seay, Appellant Pro Se.  Richard E. Spies, O'KEEFFE, MORRISON &amp; SPIES, Lynchburg, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Seay v. Mulberry, No. CA-94-919 (W.D.Va. July 14, 1995).  We deny Appellee's motion to dismiss the appeal as untimely.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    